 Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 1 of 45 PageID 2151


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO. 3:19-CR-083-M

RUEL M. HAMILTON


                GOVERNMENT’S PROPOSED JURY INSTRUCTIONS

       The United States of America respectfully submits these Proposed Jury

Instructions. All instructions are from the Fifth Circuit Pattern Jury Instructions,

(Criminal Cases, 2019), unless otherwise noted.



                                                   Respectfully submitted,

                                                   ERIN NEALY COX
                                                   United States Attorney

                                                   /s/ Andrew Wirmani
                                                   Andrew O. Wirmani
                                                   Assistant United States Attorney
                                                   Texas Bar No. 24052287
                                                   1100 Commerce Street, Third Floor
                                                   Dallas, Texas 75242
                                                   Telephone: 214.659.8681
                                                   Facsimile: 214.767.4100




Government’s Proposed Jury Instructions – Page 1
 Case 3:19-cr-00083-M Document 263 Filed 10/26/20               Page 2 of 45 PageID 2152


                                        1.01
                              PRELIMINARY INSTRUCTIONS
Members of the Jury:

       Now that you have been sworn, I will give you some preliminary instructions to

guide you in your participation in the trial.

Duty of the jury:

       It will be your duty to find from the evidence what the facts are. You and you

alone will be the judges of the facts. You will then have to apply to those facts the law as

the court will give it to you. You must follow that law whether you agree with it or not.

Nothing the court may say or do during the course of the trial is intended to indicate, or

should be taken by you as indicating, what your verdict should be.

Evidence:

       The evidence from which you will find the facts will consist of the testimony of

witnesses, documents and other items received into the record as exhibits, and any facts

that the lawyers agree to or stipulate to or that the court may instruct you to find.

Certain things are not evidence and must not be considered by you. I will list them for

you now.

       1.      Statements, arguments, and questions by lawyers are not evidence.

       2.      Objections to questions are not evidence. Lawyers have an obligation to

their clients to make objections when they believe evidence being offered is improper

under the rules of evidence. You should not be influenced by the objection or by the

court’s ruling on it. If the objection is sustained, ignore the question. If it is overruled,




Government’s Proposed Jury Instructions – Page 2
 Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 3 of 45 PageID 2153


treat the answer like any other. If you are instructed that some item of evidence is

received for a limited purpose only, you must follow that instruction.

       3.      Testimony that the court has excluded or told you to disregard is not

evidence and must not be considered.

       4.      Anything you may have seen, heard, or read outside the courtroom is not

evidence and must be disregarded. You are to decide the case solely on the evidence

presented here in the courtroom.

       There are two kinds of evidence: direct and circumstantial. Direct evidence is

direct proof of a fact, such as testimony of an eyewitness. Circumstantial evidence is

proof of facts from which you may infer or conclude that other facts exist. I will give

you further instructions on these as well as other matters at the end of the case, but keep

in mind that you may consider both kinds of evidence.

       It will be up to you to decide which witnesses to believe, which witnesses not to

believe, and how much of any witness’s testimony to accept or reject. I will give you

some guidelines for determining the credibility of witnesses at the end of the case.

Rules for criminal cases:

       As you know, this is a criminal case. There are three basic rules about a criminal

case that you must keep in mind.

       First: the defendant is presumed innocent until proven guilty. The superseding

indictment brought by the government against the defendant is only an accusation,

nothing more. It is not proof of guilt or anything else. The defendant therefore starts out

with a clean slate.


Government’s Proposed Jury Instructions – Page 3
 Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 4 of 45 PageID 2154


       Second: the burden of proof is on the government until the very end of the case.

The defendant has no burden to prove his or her innocence, or to present any evidence, or

to testify. Since the defendant has the right to remain silent, the law prohibits you from

arriving at your verdict by considering that the defendant may not have testified.

       Third: the government must prove the defendant’s guilt beyond a reasonable

doubt. I will give you further instructions on this point later, but bear in mind that in this

respect a criminal case is different from a civil case.

Summary of applicable law:

       In this case the defendant is charged with the following offenses: one count of

conspiracy to commit bribery concerning a local government receiving federal benefits,

two counts of bribery concerning a local government receiving federal benefits, and one

count of using an interstate facility to commit a Travel Act violation, that is, bribery in

violation of state law. I will give you detailed instructions on the law at the end of the

case, and those instructions will control your deliberations and decision. But in order to

help you follow the evidence, I will now give you a brief summary of the elements of the

offenses that the government must prove beyond a reasonable doubt to make its case.

       Conspiracy to Commit Bribery (and Bribery) Concerning a Local Government
       Receiving Federal Benefits

       The defendant is charged with participating in a scheme to bribe Carolyn Rena

Davis, a former Dallas City Council Member, with the intent to influence and reward

Davis in connection with the defendant’s business, specifically, in regard to City of

Dallas grants, loans, and federal tax credits.



Government’s Proposed Jury Instructions – Page 4
    Case 3:19-cr-00083-M Document 263 Filed 10/26/20                Page 5 of 45 PageID 2155


          A “conspiracy” is an agreement between two or more persons to join together to

accomplish some unlawful purpose. It is a kind of “partnership in crime” in which each

member becomes the agent of every other member.

          In order to prove the charged conspiracy, in violation of 18 U.S.C. Section 371,

the government must prove each of the following beyond a reasonable doubt:1

          First:          That the defendant and at least one other person agreed to commit
                          the crime of bribery concerning an agent of a local government
                          receiving federal benefits in violation of 18 U.S.C. Section 666(a)(2)
                          (offering a bribe) and (a)(1)(B) (receiving a bribe), as charged in the
                          superseding indictment;

          Second:         That the defendant knew the unlawful purpose of the agreement and
                          joined in it willfully, that is, with the intent to further the unlawful
                          purpose; and

          Third:          That at least one of the conspirators during the existence of the
                          conspiracy knowingly committed at least one of the overt acts
                          described in the superseding indictment, in order to accomplish
                          some object or purpose of the conspiracy.

          The essential elements of bribery concerning a local government receiving federal

benefits in violation of 18 U.S.C. Section 666(a)(2) are discussed below. The overt act

need not be of a criminal nature so long as it is done in furtherance of the conspiracy.

          One may become a member of a conspiracy without knowing all the details of

the unlawful scheme or the identities of all the other alleged conspirators. If a

defendant understands the unlawful nature of a plan or scheme and knowingly and

intentionally joins in that plan or scheme on one occasion, that is sufficient to

convict him for conspiracy even though the defendant had not participated before

and even though the defendant played only a minor part.


1   Fifth Circuit Pattern Jury Instruction 2.15A (5th Cir. 2019).
Government’s Proposed Jury Instructions – Page 5
    Case 3:19-cr-00083-M Document 263 Filed 10/26/20                Page 6 of 45 PageID 2156


          The government need not prove that the alleged conspirators entered into any

formal agreement, nor that they directly stated between themselves all the details of

the scheme. Likewise, the government does need not prove that all the details of the

scheme alleged in the superseding indictment were actually agreed upon or carried

out. Nor must it prove that all of the persons alleged to have been members of the

conspiracy were such, or that the alleged conspirators actually succeeded in

accomplishing their unlawful objectives.

          Mere presence at the scene of an event, even with the knowledge that a crime is

being committed, or the mere fact that certain persons may have associated with each

other, and may have assembled together and discussed common aims and interests, does

not necessarily establish proof of the existence of a conspiracy. Also, a person who has

no knowledge of a conspiracy, but who happens to act in a way that advances some

purpose of the conspiracy, does not thereby become a conspirator.

          Bribery Concerning a Local Government Receiving Federal Benefits

          In addition to being charged conspiring to bribe Davis, the defendant is also

charged with the offense of bribing Davis as well as another former City Dallas City

Council Member, Dwaine Caraway.

          As to the claim involving Davis, the essential elements of bribery concerning a

local government receiving federal benefits in violation of 18 U.S.C. Section 666(a)(2)

are:2

          First:          That Carolyn Davis was an agent of the City of Dallas;



2   Fifth Circuit Pattern Jury Instruction 2.33C (5th Cir. 2019).
Government’s Proposed Jury Instructions – Page 6
    Case 3:19-cr-00083-M Document 263 Filed 10/26/20                Page 7 of 45 PageID 2157


          Second:         That the City of Dallas was a local government that received in any
                          one-year period, benefits in excess of $10,000 under a Federal
                          program involving a grant, contract, subsidy, loan, guarantee,
                          insurance, and other form of Federal assistance;

          Third:          That the defendant corruptly gave or agreed to give anything of
                          value—including money, charitable donations, political donations to
                          the candidates of Davis’s choice, and a consulting job—to Davis or
                          another person with the intent to influence or reward Davis in
                          connection with any business, transaction, or series of transactions of
                          the City of Dallas; and

          Fourth:         That the business, transaction, and series of transactions involved
                          anything of value of $5,000 or more.

          As to the claim involving Caraway, the essential elements of bribery concerning a

local government receiving federal benefits in violation of 18 U.S.C. Section 666(a)(2)

are:3

          First:          That Dwaine Caraway was an agent of the City of Dallas;

          Second:         That the City of Dallas was a local government that received in any
                          one-year period, benefits in excess of $10,000 under a Federal
                          program involving a grant, contract, subsidy, loan, guarantee,
                          insurance, and other form of Federal assistance;

          Third:          That the defendant corruptly gave or agreed to give anything of
                          value—including a check for $7,000—to Caraway or another person
                          with the intent to influence or reward Caraway in connection with
                          any business, transaction, or series of transactions of the City of
                          Dallas; and

          Fourth:         That the business, transaction, and series of transactions involved
                          anything of value of $5,000 or more.

Use of an Interstate Facility to Commit a Travel Act Violation

          The defendant is also charged with bribing Caraway with the intent to influence

and reward Caraway in connection with Caraway’s assistance in adding an item of


3   Fifth Circuit Pattern Jury Instruction 2.33C (5th Cir. 2019).
Government’s Proposed Jury Instructions – Page 7
    Case 3:19-cr-00083-M Document 263 Filed 10/26/20                   Page 8 of 45 PageID 2158


interest to Hamilton—namely, one regarding Hamilton’s future housing development—

on the Dallas City Council agenda, in violation of 18 U.S.C. Section 1952.

        The essential elements of the use of an interstate facility to commit a Travel Act

violation, specifically, bribery under state law, are: 4

        First:          That the defendant used or caused to be used any facility in interstate
                        commerce;

        Second:         That the defendant had the specific intent to promote, manage,
                        establish, carry on, or distribute the proceeds of, or facilitate the
                        promotion, management, establishment, or carrying on of, unlawful
                        activity, that is, bribery in violation of Texas Penal Code Section
                        36.02; and

        Third:          That after the use of any facility in interstate commerce, the
                        defendant did knowingly and willfully promote, manage, establish,
                        carry on, distribute the proceeds of, or facilitate the promotion,
                        management, establishment, or carrying on of, such unlawful
                        activity.

        A person commits the offense of bribery in violation of Texas Penal Code Section

36.02(1) if he intentionally or knowingly offers, confers, or agrees to confer on another,

or solicits, accepts, or agrees to accept from another any benefit as consideration for the

recipient’s decision, opinion, recommendation, vote, or other exercise of discretion as a

public servant, party official, or voter.

        The government is not required to prove the elements of bribery beyond a

reasonable doubt or any completed act of bribery. Instead, you should use this definition

to determine whether the government has proved the elements of a Travel Act violation.5


4
  Modified for Texas Penal Code Section 36.02(1).
5
  United States v. Prince, 515 F.2d 564, 566 (5th Cir. 1975); see also United States v. Conway, 507 F.2d
1047, 1051 (5th Cir. 1975) (“[P]roof of the violation of the state statute to which reference is made for
purposes of prosecution under 18 U.S.C. § 1952 is not an essential element to be proved in such a federal
prosecution.”).
Government’s Proposed Jury Instructions – Page 8
 Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 9 of 45 PageID 2159


I will instruct you that Travel Act violations and bribery under Texas Penal Code Section

36.02 are both felonies.

Conduct of the jury:

       Now, a few words about your conduct as jurors.

       During the course of the trial, do not speak with any witness, or with the

defendant, or with any of the lawyers in the case. Please do not talk with them about any

subject at all. You may be unaware of the identity of everyone connected with the case.

Therefore, in order to avoid even the appearance of impropriety, do not engage in any

conversation with anyone in or about the courtroom or courthouse. It is best that you

remain in the jury room during breaks in the trial and do not linger in the hall. In

addition, during the course of the trial, do not talk about the trial with anyone else—not

your family, not your friends, not the people with whom you work. Also, do not discuss

this case among yourselves until I have instructed you on the law and you have gone to

the jury room to make your decision at the end of the trial. Otherwise, without realizing

it, you may start forming opinions before the trial is over. It is important that you wait

until all the evidence is received and you have heard my instructions on rules of law

before you deliberate among yourselves.

       You, as jurors, must decide this case based solely on the evidence presented here

within the four walls of this courtroom. This means that during the trial you must not

conduct any independent research about this case, the matters in this case, and the

individuals or corporations involved in the case. In other words, you should not consult

dictionaries or reference materials, search the Internet, websites, or blogs, or use any


Government’s Proposed Jury Instructions – Page 9
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 10 of 45 PageID 2160


other electronic tools to obtain information about this case or to help you decide the case.

Please do not try to find out information from any source outside the confines of this

courtroom.

       I know that many of you use cell phones, the Internet, and other tools of

technology. You also must not talk to anyone at any time about this case or use these

tools to communicate electronically with anyone about the case. This includes your

family and friends. You may not communicate with anyone about the case through any

means, including your cell phone, through e-mail, Blackberry, iPhone, text messaging, or

on Snapchat or Twitter, or through any blog or website, including Facebook, Google+,

MySpace, LinkedIn, or YouTube. You may not use any similar technology of social

media, even if I have not specifically mentioned it here. I expect you will inform me as

soon as you become aware of another juror’s violation of these instructions. A juror who

violates these restrictions jeopardizes the fairness of these proceedings, and a mistrial

could result, which would require the entire trial process to start over.

Course of the trial:

       I will now give you a roadmap to help you follow what will happen over the entire

course of this trial. First, the government will make an opening statement, which is

simply an outline to help you understand the evidence as it is admitted. Next, the

defendant’s attorneys may, but do not have to, make an opening statement. Opening

statements are neither evidence nor arguments.

       The government will then present its witnesses, and counsel for the defendant may

cross-examine them. Following the government’s case, the defendant may, if he wishes,


Government’s Proposed Jury Instructions – Page 10
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 11 of 45 PageID 2161


present witnesses whom the government may cross-examine. If the defendant decides to

present evidence, the government may introduce rebuttal evidence.

       After all the evidence is in, the attorneys will present their closing arguments to

summarize and interpret the evidence for you, and the court will instruct you on the law.

After that, you will retire to deliberate on your verdict.




Government’s Proposed Jury Instructions – Page 11
Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 12 of 45 PageID 2162


                                              1.02
                                     NOTE-TAKING BY JURORS

       If you would like to take notes during the trial, you may do so. On the other hand,

you are not required to take notes if you prefer not to do so. Each of you should make

your own decision about this.

       If you decide to take notes, be careful not to get so involved in the note-taking that

you become distracted from the ongoing proceedings. Your notes should be used only as

memory aids. You should not give your notes precedence over your independent

recollection of the evidence. If you do not take notes, you should rely upon your own

independent recollection of the proceedings and you should not be unduly influenced by

the notes of other jurors.

       Notes are not entitled to any greater weight than the memory or impression of each

juror as to what the testimony may have been. Whether you take notes or not, each of

you must form and express your own opinion as to the facts of the case.

       You will note that we do have an official court reporter making a record of the

trial; however, we will not have typewritten transcripts of this record available for your

use in reaching a decision in this case.

       The trial will now begin.




Government’s Proposed Jury Instructions – Page 12
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 13 of 45 PageID 2163


                                      1.03
                       INTRODUCTION TO FINAL INSTRUCTIONS

Members of the Jury:

       In any jury trial there are, in effect, two judges. I am one of the judges; the other

is the jury. It is my duty to preside over the trial and to decide what evidence is proper

for your consideration. It is also my duty at the end of the trial to explain to you the rules

of law that you must follow and apply in arriving at your verdict.

       First, I will give you some general instructions which apply in every case, for

example, instructions about burden of proof and how to judge the believability of

witnesses. Then I will give you some specific rules of law about this particular case, and

finally I will explain to you the procedures you should follow in your deliberations.




Government’s Proposed Jury Instructions – Page 13
Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 14 of 45 PageID 2164


                                        1.04
                            DUTY TO FOLLOW INSTRUCTIONS

       You, as jurors, are the judges of the facts. But in determining what actually

happened—that is, in reaching your decision as to the facts—it is your sworn duty to

follow all of the rules of law as I explain them to you.

       You have no right to disregard or give special attention to any one instruction, or

to question the wisdom or correctness of any rule I may state to you. You must not

substitute or follow your own notion or opinion as to what the law is or ought to be. It is

your duty to apply the law as I explain it to you, regardless of the consequences.

       It is also your duty to base your verdict solely upon the evidence, without

prejudice or sympathy. That was the promise you made and the oath you took before

being accepted by the parties as jurors, and they have the right to expect nothing less.




Government’s Proposed Jury Instructions – Page 14
Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 15 of 45 PageID 2165


                             1.05
 PRESUMPTION OF INNOCENCE, BURDEN OF PROOF, REASONABLE DOUBT

       The superseding indictment or formal charge against a defendant is not evidence

of guilt. Indeed, the defendant is presumed by the law to be innocent. The defendant

begins with a clean slate. The law does not require a defendant to prove his innocence or

produce any evidence at all [and no inference whatever may be drawn from the election

of a defendant not to testify].

       The government has the burden of proving the defendant guilty beyond a

reasonable doubt, and if it fails to do so, you must acquit the defendant. While the

government’s burden of proof is a strict or heavy burden, it is not necessary that the

defendant’s guilt be proved beyond all possible doubt. It is only required that the

government’s proof exclude any “reasonable doubt” concerning the defendant’s guilt.

       A “reasonable doubt” is a doubt based upon reason and common sense after

careful and impartial consideration of all the evidence in the case. Proof beyond a

reasonable doubt, therefore, is proof of such a convincing character that you would be

willing to rely and act upon it without hesitation in making the most important decisions

of your own affairs.




Government’s Proposed Jury Instructions – Page 15
Case 3:19-cr-00083-M Document 263 Filed 10/26/20               Page 16 of 45 PageID 2166


                                    1.06
                 EVIDENCE - EXCLUDING WHAT IS NOT EVIDENCE

       As I told you earlier, it is your duty to determine the facts. To do so, you must

consider only the evidence presented during the trial. Evidence is the sworn testimony of

the witnesses, including stipulations, and the exhibits. The questions, statements,

objections, and arguments made by the lawyers are not evidence.

       The function of the lawyers is to point out those things that are most significant or

most helpful to their side of the case, and in so doing to call your attention to certain facts

or inferences that might otherwise escape your notice. In the end, however, it is your

own recollection and interpretation of the evidence that controls in the case. What the

lawyers say is not binding upon you.

       During the trial I sustained objections to certain questions and exhibits. You must

disregard those questions and exhibits entirely. Do not speculate as to what the witness

would have said if permitted to answer the question or as to the contents of an exhibit.

Also, certain testimony or other evidence has been ordered removed from the record and

you have been instructed to disregard this evidence. Do not consider any testimony or

other evidence which has been removed from your consideration in reaching your

decision. Your verdict must be based solely on the legally admissible evidence and

testimony.

       Also, do not assume from anything I may have done or said during the trial that I

have any opinion concerning any of the issues in this case. Except for the instructions to

you on the law, you should disregard anything I may have said during the trial in arriving

at your own verdict.
Government’s Proposed Jury Instructions – Page 16
Case 3:19-cr-00083-M Document 263 Filed 10/26/20               Page 17 of 45 PageID 2167


                                    1.07
            EVIDENCE - INFERENCES - DIRECT AND CIRCUMSTANTIAL

       In considering the evidence, you are permitted to draw such reasonable inferences

from the testimony and exhibits as you feel are justified in the light of common

experience. In other words, you may make deductions and reach conclusions that reason

and common sense lead you to draw from the facts which have been established by the

evidence.

       Do not be concerned about whether evidence is “direct evidence” or

“circumstantial evidence.” You should consider and weigh all of the evidence that was

presented to you.

       “Direct evidence” is the testimony of one who asserts actual knowledge of a fact,

such as an eye witness. “Circumstantial evidence” is proof of a chain of events and

circumstances indicating that something is or is not a fact.

       The law makes no distinction between the weight to be given either direct or

circumstantial evidence. But the law requires that you, after weighing all of the evidence,

whether direct or circumstantial, be convinced of the guilt of the defendant beyond a

reasonable doubt before you can find him guilty.




Government’s Proposed Jury Instructions – Page 17
Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 18 of 45 PageID 2168


                                          1.08
                                CREDIBILITY OF WITNESSES

       I remind you that it is your job to decide whether the government has proved the

guilt of the defendant beyond a reasonable doubt. In doing so, you must consider all of

the evidence. This does not mean, however, that you must accept all of the evidence as

true or accurate.

       You are the sole judges of the credibility or “believability” of each witness and the

weight to be given to the witness’s testimony. An important part of your job will be

making judgments about the testimony of the witnesses [including the defendant] who

testify in this case. You should decide whether you believe all, some part, or none of

what each person had to say, and how important that testimony was. In making that

decision I suggest that you ask yourself a few questions: Did the witness impress you as

honest? Did the witness have any particular reason not to tell the truth? Did the witness

have a personal interest in the outcome of the case? Did the witness have any

relationship with either the government or the defense? Did the witness seem to have a

good memory? Did the witness clearly see or hear the things about which he testified?

Did the witness have the opportunity and ability to understand the questions clearly and

answer them directly? Did the witness’s testimony differ from the testimony of other

witnesses? These are a few of the considerations that will help you determine the

accuracy of what each witness said.

       [The testimony of the defendant should be weighed and his credibility evaluated in

the same way as that of any other witness.]



Government’s Proposed Jury Instructions – Page 18
Case 3:19-cr-00083-M Document 263 Filed 10/26/20           Page 19 of 45 PageID 2169


       Your job is to think about the testimony of each witness you have heard and

decide how much you believe of what each witness had to say. In making up your mind

and reaching a verdict, do not make any decisions simply because there were more

witnesses on one side than on the other. Do not reach a conclusion on a particular point

just because there were more witnesses testifying for one side on that point. You will

always bear in mind that the law never imposes upon a defendant in a criminal case the

burden or duty of calling any witnesses or producing any evidence.




Government’s Proposed Jury Instructions – Page 19
Case 3:19-cr-00083-M Document 263 Filed 10/26/20               Page 20 of 45 PageID 2170


                                         1.15
                     ACCOMPLICE - CO-DEFENDANT - PLEA AGREEMENT

          In this case, the government called as witnesses alleged accomplices of the

defendant, as identified in other charging documents, with whom the government

has entered into plea agreements. Those agreements provide for (e.g., the non-binding

recommendation for a favorable sentence). Such plea bargaining, as it is called, has been

approved as lawful and proper, and is expressly provided for in the rules of this court.

          An alleged accomplice, including one who has entered into a plea agreement with

the government, is not prohibited from testifying. On the contrary, the testimony of such

a witness may alone be of sufficient weight to sustain a verdict of guilty. You should

keep in mind that such testimony is always to be received with caution and weighed with

great care. You should never convict a defendant upon the unsupported testimony of an

alleged accomplice unless you believe that testimony beyond a reasonable doubt.

          The fact that an accomplice has entered a plea of guilty to the offense charged is

not evidence of the guilt of any other person.6




6
    Modified to account for the facts of the case.
Government’s Proposed Jury Instructions – Page 20
Case 3:19-cr-00083-M Document 263 Filed 10/26/20           Page 21 of 45 PageID 2171


                                             1.18
                                         ON OR ABOUT

       You will note that the superseding indictment charges that the offenses were

committed on or about a specified date. The government does not have to prove that the

crime was committed on that exact date, so long as the government proves beyond a

reasonable doubt that the defendant committed the crime on a date reasonably near the

date(s) stated in the superseding indictment.




Government’s Proposed Jury Instructions – Page 21
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 22 of 45 PageID 2172


                                           1.18A
                                    VENUE - CONSPIRACY

       The events presented at trial happened in various places. There is no requirement

that the entire conspiracy take place in the Northern District of Texas, but in order for

you to return a guilty verdict, the government must prove by a preponderance of the

evidence that either the agreement or an overt act took place in this district, even if the

defendant never set foot in the district. An overt act is an act performed to effect the

object of a conspiracy, although it remains separate and distinct from the conspiracy

itself. Though the overt act need not be of criminal nature, it must be done in furtherance

of the object of the conspiracy.

       Unlike the other elements of the offense, this is a fact that the government has to

prove only by a preponderance of the evidence. This means the government has to

convince you only that it is more likely than not that part of the conspiracy took place in

the Northern District of Texas. All other elements of the offense must be proved beyond

a reasonable doubt. You are instructed that Dallas, Texas and that Dallas City Hall are

located in the Northern District of Texas.




Government’s Proposed Jury Instructions – Page 22
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 23 of 45 PageID 2173


                                      1.19
                    CAUTION - CONSIDER ONLY CRIME CHARGED

       You are here to decide whether the government has proved beyond a reasonable

doubt that the defendant is guilty of the crimes charged. The defendant is not on trial for

any act, conduct, or offense not alleged in the superseding indictment. Neither are you

called upon to return a verdict as to the guilt of any other person or persons not on trial as

a defendant in this case, except as you are otherwise instructed.




Government’s Proposed Jury Instructions – Page 23
Case 3:19-cr-00083-M Document 263 Filed 10/26/20            Page 24 of 45 PageID 2174


                                           1.20
                                  CAUTION - PUNISHMENT

       If a defendant is found guilty, it will be my duty to decide what the punishment

will be. You should not be concerned with punishment in any way. It should not enter

your consideration or discussion.




Government’s Proposed Jury Instructions – Page 24
Case 3:19-cr-00083-M Document 263 Filed 10/26/20            Page 25 of 45 PageID 2175


                                            1.30
                                       SIMILAR ACTS

       You have heard evidence of acts of the defendant which may be similar to

those charged in the superseding indictment, but which were committed on other

occasions. You must not consider any of this evidence in deciding if the defendant

committed the acts charged in the superseding indictment. However, you may

consider this evidence for other, very limited, purposes.

       If you find beyond a reasonable doubt from other evidence in this case that the

defendant did commit the acts charged in the superseding indictment, then you may

consider evidence of the similar acts allegedly committed on other occasions to

determine:

        Whether the defendant had the state of mind or intent necessary to commit

           the crime charged in the superseding indictment;

        Whether the defendant had a motive or the opportunity to commit the acts

           charged in the superseding indictment;

        Whether the defendant acted according to a plan or in preparation for

           commission of a crime; or

        Whether the defendant committed the acts for which he is on trial by accident

           or mistake.

       These are the limited purposes for which any evidence of other similar acts may

be considered.




Government’s Proposed Jury Instructions – Page 25
Case 3:19-cr-00083-M Document 263 Filed 10/26/20            Page 26 of 45 PageID 2176


                                         1.41
                                  “KNOWINGLY” - TO ACT

       The word “knowingly,” as that term has been used from time to time in these

instructions, means that the act was done voluntarily and intentionally, not because of

mistake or accident.




Government’s Proposed Jury Instructions – Page 26
Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 27 of 45 PageID 2177


                                           1.43
                                   “WILLFULLY” - TO ACT

       The term “willfully,” as that term has been used at times in these instructions,

means that the act was committed voluntarily and purposely, with the specific intent to do

something the law forbids; that is to say, with bad purpose either to disobey or disregard

the law.




Government’s Proposed Jury Instructions – Page 27
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 28 of 45 PageID 2178


                                1.48
         CAUTIONARY INSTRUCTION DURING TRIAL - TRANSCRIPT OF
                   TAPE-RECORDED CONVERSATIONS

       Exhibits __________ have been identified as typewritten transcripts of the oral

conversation which can be heard on the tape recording received in evidence as Exhibits

__________. The transcript also purports to identify the speakers engaged in such

conversation.

       I have admitted the transcripts for the limited and secondary purpose of aiding you

in following the content of the conversations as you listen to the tape recordings, and also

to aid you in identifying the speakers.

       You are specifically instructed that whether the transcripts correctly or incorrectly

reflect the content of the conversations or the identity of the speakers is entirely for you

to determine based upon your own evaluation of the testimony you have heard

concerning the preparation of the transcripts, and from your own examination of the

transcripts in relation to your hearing of the tape recordings as the primary evidence of

their own contents; and, if you should determine that the transcripts are in any respect

incorrect or unreliable, you should disregard those to that extent. It is what you hear on

the tape that is evidence, not the transcripts.




Government’s Proposed Jury Instructions – Page 28
Case 3:19-cr-00083-M Document 263 Filed 10/26/20            Page 29 of 45 PageID 2179


                              1.51
      SUMMARIES AND CHARTS RECEIVED IN EVIDENCE PURSUANT TO
                  FEDERAL RULE OF EVIDENCE 1006

       Certain charts and summaries of other records have been received into evidence.

They should be considered like any other evidence in the case. You should give them

only such weight as you think they deserve.

       The charts and summaries include inferences or conclusions drawn from the

records underlying them. It is up to you to determine if these inferences or conclusions

are accurate.




Government’s Proposed Jury Instructions – Page 29
Case 3:19-cr-00083-M Document 263 Filed 10/26/20            Page 30 of 45 PageID 2180


                              1.52
      SUMMARY WITNESS TESTIMONY AND CHARTS BASED ON OTHER
                           EVIDENCE

       Summary testimony by a witness [and charts or summaries prepared or relied upon

by the witness] have been received into evidence for the purpose of explaining facts

disclosed by testimony and exhibits which are also in evidence in this case. If you find

that such summary testimony [and charts] correctly reflect the other evidence in the case,

you may rely upon them. But if and to the extent that you find they are not in truth

summaries of the evidence in the case, you are to disregard them. The best evidence of

what occurred are the underlying records themselves.




Government’s Proposed Jury Instructions – Page 30
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                Page 31 of 45 PageID 2181


                                            2.15A
                                   CONSPIRACY (COUNT 1)
                                     18 U.S.C. Section 371

       Title 18, United States Code, Section 371, makes it a crime for two or more

persons to conspire to commit an offense against the laws of the United States. The

defendant is charged with participating in a scheme to give Carolyn Rena Davis, a former

Dallas City Council Member, things of value—including money, charitable donations,

political donations to the candidates of Davis’s choice, and a consulting job, with the

intent to influence or reward Davis in connection with the defendant’s business,

specifically, in regard to City of Dallas grants and loans, and federal tax credits.

       A “conspiracy” is an agreement between two or more persons to join together to

accomplish some unlawful purpose. It is a kind of “partnership in crime” in which each

member of the conspiracy becomes the agent of every other member.

       For you to find the defendant guilty of this crime, you must be convinced that the

government has proved each of the following beyond a reasonable doubt:

       First:          That the defendant and at least one other person agreed to commit
                       the crime of bribery concerning an agent of a local government
                       receiving federal benefits in violation of 18 U.S.C. Section 666(a)(2)
                       (offering a bribe) and (a)(1)(B) (receiving a bribe), as charged in the
                       superseding indictment;

       Second:         That the defendant knew the unlawful purpose of the agreement and
                       joined in it willfully, that is, with the intent to further the unlawful
                       purpose; and

       Third:          That at least one of the conspirators during the existence of the
                       conspiracy knowingly committed at least one of the overt acts
                       described in the superseding indictment, in order to accomplish
                       some object or purpose of the conspiracy.



Government’s Proposed Jury Instructions – Page 31
Case 3:19-cr-00083-M Document 263 Filed 10/26/20             Page 32 of 45 PageID 2182


       The essential elements of bribery concerning a local government receiving federal

benefits in violation of 18 U.S.C. Section 666(a)(2) are discussed later in these

instructions.

       The overt act need not be of a criminal nature so long as it is done in furtherance

of the conspiracy.

       One may become a member of a conspiracy without knowing all the details of

the unlawful scheme or the identities of all the other alleged conspirators. If a

defendant understands the unlawful nature of a plan or scheme and knowingly and

intentionally joins in that plan or scheme on one occasion, that is sufficient to

convict him for conspiracy even though the defendant had not participated before

and even though the defendant played only a minor part.

       The government need not prove that the alleged conspirators entered into any

formal agreement, nor that they directly stated between themselves all the details of

the scheme. Likewise, the government does need not prove that all the details of the

scheme alleged in the superseding indictment were actually agreed upon or carried

out. Nor must it prove that all of the persons alleged to have been members of the

conspiracy were such, or that the alleged conspirators actually succeeded in

accomplishing their unlawful objectives.

       Mere presence at the scene of an event, even with the knowledge that a crime is

being committed, or the mere fact that certain persons may have associated with each

other, and may have assembled together and discussed common aims and interests, does

not necessarily establish proof of the existence of a conspiracy. Also, a person who has


Government’s Proposed Jury Instructions – Page 32
Case 3:19-cr-00083-M Document 263 Filed 10/26/20          Page 33 of 45 PageID 2183


no knowledge of a conspiracy, but who happens to act in a way that advances some

purpose of the conspiracy, does not thereby become a conspirator.




Government’s Proposed Jury Instructions – Page 33
Case 3:19-cr-00083-M Document 263 Filed 10/26/20               Page 34 of 45 PageID 2184


                                 2.33C
   BRIBERY CONCERNING A LOCAL GOVERNMENT RECEIVING FEDERAL
   BENEFITS (OFFERING A BRIBE) (COUNT 2 AS TO DAVIS; COUNT 3 AS TO
                             CARAWAY)
                       18 U.S.C. Section 666(a)(2)

         Title 18, United States Code, Section 666(a)(2), makes it a crime for anyone to

corruptly give, offer, or agree to give anything of value to any person, with intent to

influence or reward an agent of an organization or of a State, local, or Indian tribal

government, or any agency thereof, that receives more than $10,000 in federal assistance

in any one year period, in connection with any business, transaction, or series of

transactions of such organization, government, or agency involving anything of value of

$5,000 or more. Here, the defendant is charged with bribing two individuals, Carolyn

Rena Davis and Dwaine Caraway, in two separate counts of the superseding indictment.

         For you to find the defendant guilty of this crime as to Davis, you must be

convinced that the government has proved each of the following beyond a reasonable

doubt:

         First:        That Carolyn Rena Davis was an agent of the City of Dallas;

         Second:       That the City of Dallas was a local government that received in any
                       one-year period, benefits in excess of $10,000 under a Federal
                       program involving a grant, contract, subsidy, loan, guarantee,
                       insurance, or other form of Federal assistance;

         Third:        That the defendant corruptly gave or agreed to give anything of
                       value—including money, charitable donations, political donations to
                       the candidates of Davis’s choice, and a consulting job—to Davis or
                       another person with the intent to influence or reward Davis in
                       connection with any business, transaction, or series of transactions of
                       the City of Dallas; and

         Fourth:       That the business, transaction, or series of transactions involved
                       anything of value of $5,000 or more.

Government’s Proposed Jury Instructions – Page 34
Case 3:19-cr-00083-M Document 263 Filed 10/26/20               Page 35 of 45 PageID 2185


         For you to find the defendant guilty of this crime as to Caraway, you must be

convinced that the government has proved each of the following beyond a reasonable

doubt:

         First:        That Dwaine Caraway was an agent of the City of Dallas;

         Second:       That the City of Dallas was a local government that received in any
                       one-year period, benefits in excess of $10,000 under a Federal
                       program involving a grant, contract, subsidy, loan, guarantee,
                       insurance, or other form of Federal assistance;

         Third:        That the defendant corruptly gave or agreed to give anything of
                       value— including a check for $7,000—to Caraway or another
                       person with the intent to influence or reward Caraway in connection
                       with any business, transaction, or series of transactions of the City of
                       Dallas; and

         Fourth:       That the business, transaction, or series of transactions involved
                       anything of value of $5,000 or more.

         The term “agent,” as relevant here, means a person authorized to act on behalf of a

government, including an elected official.

         The term “local” means of or pertaining to a political subdivision within a State,

such as a city.

         The term “in any one-year period” means a continuous period that commences no

earlier than twelve months before the commission of the offense or that ends no later than

twelve months after the commission of the offense. Such period may include time both

before and after the commission of the offense.

         An act is “corruptly” done if it is done intentionally with an unlawful purpose.




Government’s Proposed Jury Instructions – Page 35
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                         Page 36 of 45 PageID 2186


          The term “thing of value” is not limited to money, goods, or services. It applies to

anything that the agent of the local government subjectively values.7

          The word “value” means the face, par, market value, or cost price, either

wholesale or retail, whichever is greater.

          A bribe can be inferred from circumstantial evidence, including, in part, the timing

of the payment. The agreement need not be express or “explicit.”8

          It is not necessary that the thing of value be correlated with a specific official act.

Instead, it is sufficient if the thing of value is given with the intent that the agent of the

local government will exercise particular kinds of influence as specific opportunities

arise.9

          It is no defense to the crime of bribery that the thing sought by the defendant was

good for the community or something that the agent of the local government would have

or should have done without the bribe.10




7
  United States v. Marmolejo, 89 F.3d 1185, 1191 (5th Cir. 1996); United States v. Mongelli, 794 F.Supp.
529, 531 (S.D.N.Y. 1992); United States v. Williams, 705 F.2d 603, 623 (2d Cir. 1983).
8
  McDonnell v. United States, 136 S. Ct. 2355, 2371 (2016).
9
  See United States v. Jennings, 160 F.3d 1006, 1014 (4th Cir. 1998) (In a Section 666 prosecution, “each
payment need not be correlated with a specific official act .... In other words, the intended exchange in
bribery can be ‘this for these’ or ‘these for these’, not just ‘this for that.’”); United States v. Ganim, 510
F.3d 134, 144-150 (2d Cir. 2007) (Under the Hobbs Act, “[i]t is sufficient if the public official
understands that he or she is expected as a result of the payment to exercise particular kinds of influence-
i.e., on behalf of the payor -as specific opportunities arise.”) (quoting United States v. Coyne, 4 F.3d 100,
114 (2d Cir. 1993), and citing United States v. Bradley, 173 F.3d 225, 231-232 (3d Cir. 1999)); see also
United States v. McNair, 605 F.3d 1152, 1188 (11th Cir. 2010) (expressly holding that there is no specific
quid pro quo requirement in § 666(a)(1)(B) or (a)(2)).
10
   See City of Columbia v. Omni Outdoor Advertising, Inc., 499 U.S. 365, 378 (1991) (“A mayor is guilty
of accepting a bribe even if he would and should have taken, in the public interest, the same action for
which the bribe was paid.”); United States v. Quinn, 359 F.3d 666, 675 (4th Cir. 2004) (“[I]t does not
matter whether the government official would have to change his or her conduct to satisfy the payor’s
expectations.”).
Government’s Proposed Jury Instructions – Page 36
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                         Page 37 of 45 PageID 2187


        The fact that providing a thing of value is motivated, in part, by friendship or

compassion is no defense. Things of value given with a dual motive constitute bribery so

long as one of the motives is to influence the agent of the local government.11

        It is irrelevant that the thing sought by the defendant is not possible. It is

sufficient if the defendant believed that the agent of the local government was capable of

delivering the thing sought.12

        It is not necessary to prove that the defendant’s conduct directly affected the

federal benefits received by the agency under the federal program. However, there must

be some connection between the criminal conduct and the local government receiving

federal assistance.

        It is also not necessary to prove that the defendant offering the bribe benefitted

from the bribe or that the bribe was successfully obtained by the agent of the local

government.

        In determining whether the defendant is guilty of these two charged offenses, do

not consider bona fide salary, wages, fees, or other compensation paid, or expenses paid

or reimbursed, in the usual course of business.




11
   United States v. Coyne, 4 F.3d 100, 113 (2d Cir. 1993) (affirming federal program bribery conviction
under 18 U.S.C. § 666); United States v. Biaggi, 909 F.2d 662, 683 (2d Cir. 1990).
12
   United States v. Hsieh Hui Mei Chen, 754 F.2d 817 (9th Cir. 1985); United States v. Gjieli, 717 F.2d
968 (6th Cir. 1983); cf. United States v. Traitz, 871 F.2d 368, 396 (3d Cir. 1989) (“Provided that the
money is offered with corrupt intent, the official does not necessarily even need to be aware of the bribe
so long as a bribe is offered or promised with the required intent to influence any official act the crime is
committed.” (quotation marks and ellipsis omitted)).
Government’s Proposed Jury Instructions – Page 37
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                       Page 38 of 45 PageID 2188



                                              2.74
                                   TRAVEL ACT (BRIBERY)13
                                     18 U.S.C. Section 1952

        Title 18, United States Code, Section 1952(a)(3) makes it a crime for anyone to

use any facility in interstate or foreign commerce, with the intent to commit or facilitate

certain unlawful activity, and thereafter perform or attempt to perform that unlawful

activity.

        For you to find the defendant guilty of this crime, you must be convinced that the

government has proved each of the following beyond a reasonable doubt:

     First:             That the defendant used any facility in interstate commerce;

     Second:            That the defendant did so with the specific intent to promote,
                        manage, establish, carry on, or facilitate the promotion,
                        management, establishment, carrying on, or distribution of the
                        proceeds of unlawful activity, that is, bribery in violation of Texas
                        Penal Code Section 36.02; and

     Third:             That after the use of any facility in interstate commerce, the
                        defendant did knowingly and willfully promote, manage, establish,
                        carry on, or distribute the proceeds of, or facilitate the promotion,
                        management, establishment, or carrying on of, such unlawful
                        activity.

        The phrase “the use of any facility in interstate commerce” includes the use of an

intrastate telephone network. I instruct you that the use of a telephone is a facility in

interstate commerce for purposes of the Travel Act charges.14


13
  Modified for Texas Penal Code Section 36.02.
14
  United States v. Marek, 238 F.3d 310, 316 (5th Cir. 2001) (en banc) (holding that the jurisdictional
language in 18 U.S.C. § 1958 encompassed purely intrastate activity); United States v. Hamilton, No.
3:19-CR-0083-M, Order, Dkt. 214, at *2-4 (N.D. Tex. May 18, 2020) (finding that the language of 18
U.S.C. § 1958 is “nearly identical to the language of the Travel Act,” and concluding that, along with the
1990 amendments to § 1952, “the telephone network on which Hamilton made his call is an “interstate
facility”).
Government’s Proposed Jury Instructions – Page 38
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                        Page 39 of 45 PageID 2189


        There is no requirement that the defendant have knowledge of the use of interstate

facilities or specifically intend to use interstate facilities.15

        There is no requirement that the interstate travel or use of interstate facilities be

essential to the scheme. It is enough if the interstate travel or use of interstate facilities

made the unlawful activity easier.16

                                                BRIBERY

        The superseding indictment alleges Travel Act violations involving bribery under

state law. Texas Penal Code Section 36.02 provides:

        (a) A person commits an offense if he intentionally or knowingly offers, confers,

or agrees to confer on another, or solicits, accepts, or agrees to accept from another:

                (1) any benefit as consideration for the recipient’s decision, opinion,

        recommendation, vote, or other exercise of discretion as a public servant, party

        official, or voter.

        A person acts intentionally, or with intent, with respect to the nature of his conduct

or to a result of his conduct when it is his conscious objective or desire to engage in the

conduct or cause the result.17




15
   United States v. Perrin, 580 F.2d 730, 737 (5th Cir. 1978); United States v. Doolittle, 507 F.2d 1368,
1372 (5th Cir.), on reconsideration, 518 F.2d 500 (5th Cir. 1975) (holding that a lack of specific
knowledge regarding “the use of interstate facilities” is “legally irrelevant” because the “words of § 1952
do not require specific knowledge of the use of interstate facilities” and noting other circuits’ agreement);
United States v. Edelman, 873 F.2d 791, 794 (5th Cir. 1989) (“There is no requirement that the defendant
either have knowledge of the use of interstate facilities or specifically intend to use” them). This is
because proof of an interstate nexus is “merely a jurisdictional prerequisite.” Edelman, 873 F.2d at 794;
see United States v. Yermian, 468 U.S. 63, 73 (1984) (a criminal defendant need not have knowledge of a
jurisdictional fact).
16
   United States v. Garrett, 716 F.2d 257, 265 (5th Cir. 1983); United States v. Pecora, 693 F.2d 421, 423
(5th Cir. 1982); United States v. Perrin, 580 F.2d 730, 736 (5th Cir. 1978).
17 Texas Penal Code, Section 6.03(a).

Government’s Proposed Jury Instructions – Page 39
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                      Page 40 of 45 PageID 2190


        A person acts knowingly, or with knowledge, with respect to the nature of his

conduct or with respect to the circumstances surrounding his conduct when he is aware of

the nature of his conduct or that the circumstances exist. A person acts knowingly, or with

knowledge, with respect to a result of his conduct when he is aware that his conduct is

reasonably certain to cause the result.18

        The government is not required to prove the elements of bribery beyond a

reasonable doubt or any completed act of bribery. Instead, you should use this definition

to determine whether the government has proved the elements of a Travel Act violation.19




18
   Texas Penal Code, Section 6.03(b).
19
   United States v. Prince, 515 F.2d 564, 566 (5th Cir. 1975); see also United States v. Conway, 507 F.2d
1047, 1051 (5th Cir. 1975) (“[P]roof of the violation of the state statute to which reference is made for
purposes of prosecution under 18 U.S.C. § 1952 is not an essential element to be proved in such a federal
prosecution.”).
Government’s Proposed Jury Instructions – Page 40
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                Page 41 of 45 PageID 2191


                                           1.24
                                   DUTY TO DELIBERATE

         To reach a verdict, whether it is guilty or not guilty, all of you must agree. Your

verdict must be unanimous on each count of the superseding indictment. Your

deliberations will be secret. You will never have to explain your verdict to anyone.

         It is your duty to consult with one another and to deliberate in an effort to reach

agreement if you can do so. Each of you must decide the case for yourself, but only after

an impartial consideration of the evidence with your fellow jurors. Do not let any bias,

sympathy, or prejudice that you may feel toward one side or the other influence your

decision in any way. In particular, do not let racial, ethnic, national origin, or other bias

influence your decision in any way. During your deliberations, do not hesitate to

reexamine your own opinions and change your mind if convinced that you were wrong.

But do not give up your honest beliefs as to the weight or effect of the evidence solely

because the opinion of your fellow jurors, or for the mere purpose of returning a verdict.

         Remember at all times, you are judges—judges of the facts. Your duty is to

decide whether the government has proved the defendant guilty beyond a reasonable

doubt.

         When you go to the jury room, the first thing that you should do is select one of

your number as your foreperson, who will help to guide your deliberations and will speak

for you here in the courtroom.

         A verdict form has been prepared for your convenience.




Government’s Proposed Jury Instructions – Page 41
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 42 of 45 PageID 2192


       The foreperson will write the unanimous answer of the jury in the space provided

for each count of the superseding indictment, either guilty or not guilty. At the

conclusion of your deliberations, the foreperson should date and sign the verdict.

       If you need to communicate with me during your deliberations, the foreperson

should write the message and give it to the court security officer, and I will either reply in

writing or bring you back into the court to answer your message.

       Bear in mind that you are never to reveal to any person, not even to the court, how

the jury stands, numerically or otherwise, on any count of the superseding indictment,

until after you have reached a unanimous verdict.




Government’s Proposed Jury Instructions – Page 42
Case 3:19-cr-00083-M Document 263 Filed 10/26/20               Page 43 of 45 PageID 2193


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 UNITED STATES OF AMERICA

 v.                                                 CRIMINAL NO. 3:19-CR-083-M

 RUEL M. HAMILTON



                                  VERDICT OF THE JURY

                                            (Count One)

       We, the jury, find as follows regarding Count 1 of the superseding indictment, that

is, conspiracy to commit bribery concerning a local government receiving federal

benefits, in violation of 18 U.S.C. Section 371:


                                                     “Guilty” or “Not Guilty”



                                           (Count Two)

       We, the jury, find as follows regarding Count 2 of the superseding indictment, that

is, bribery of Carolyn Rena Davis concerning a local government receiving federal

benefits, in violation of 18 U.S.C. Section 666(a)(2):


                                                     “Guilty” or “Not Guilty”




Government’s Proposed Jury Instructions – Page 43
Case 3:19-cr-00083-M Document 263 Filed 10/26/20              Page 44 of 45 PageID 2194


                                           (Count Three)

       We, the jury, find as follows regarding Count 3 of the superseding indictment, that

is, bribery of Dwaine Caraway concerning a local government receiving federal benefits,

in violation of 18 U.S.C. Section 666(a)(2):


                                                    “Guilty” or “Not Guilty”



                                           (Count Four)

       We, the jury, find as follows regarding Count 4 of the superseding indictment, that

is, use of interstate facility to commit Travel Act violation, in violation of 18 U.S.C.

Section 1952:


                                                    “Guilty” or “Not Guilty”




                                                    Jury Foreperson




Government’s Proposed Jury Instructions – Page 44
Case 3:19-cr-00083-M Document 263 Filed 10/26/20                Page 45 of 45 PageID 2195


                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2020, I electronically filed the foregoing
document with the Clerk of Court for the United States District Court, Northern District
of Texas, using the electronic case filing system of the Court. The electronic case filing
system sent a ANotice of Electronic Filing@ to counsel for the Defendant and the
Probation Officer.

                                               /s/ Andrew O. Wirmani
                                               Andrew O. Wirmani
                                               Assistant United States Attorney




Government’s Proposed Jury Instructions – Page 45
